                Case 21-10849-CSS              Doc 107         Filed 02/22/22   Page 1 of 1




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE
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In re:                                                       :        Chapter 7
                                                             :        Case No. 21-10849 (CSS)
         PARK PLACE DEVELOPMENT                              :
         PRIMARY, LLC,                                       :
                                                             :
                                    Alleged Debtor.          :        Re: Dkt. Nos. 83, 88, 90
                                                             :
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                                                     ORDER

         Upon consideration of the Motion of Park Place Development Primary, LLC to Reopen

the Bankruptcy Case, or Alternatively, for Clarification of the Dismissal Order, for the Limited

Purpose of Considering Its Fees and Damages Motion [Dkt. No. 88] (the “Motion to Reopen”);

and it appearing that proper and adequate notice of the Motion to Reopen has been given and that

no other or further notice is necessary; and upon the evidence, pleadings and arguments

introduced at the hearing on the Motion to Reopen held before the Court on February 17, 2022

(the “Hearing”) and all the proceedings herein;

         IT IS HEREBY ORDERED THAT:

         1.       The Motion to Reopen is DENIED pursuant to the rulings and reasons articulated

by the Court at the Hearing.

         2.       The (i) Alleged Debtor’s Motion for Attorney’s Fees and Costs and Punitive

Damages for Bad Faith Filing of Involuntary Petition Pursuant to 11 U.S.C. § 303(i) [Dkt. No.

83] and (ii) Involuntary Petitioners’ Cross Motion, Pursuant to Bankruptcy Rule 9024, for

Reconsideration of the Order Dismissing the Involuntary Petition for Bad Faith [Dkt. No. 90]

are each DENIED as being moot.

Dated: February 22, 2022                                       ___________________________________
                                                               The Honorable Christopher S. Sontchi
                                                               United States Bankruptcy Judge
